The cause of action in this case was one to recover damages for personal injuries received in the same collision referred to in the case of Housel v. Pacific Electric Railway Co. (L.A. No. 3070), ante, p. 245, [139 P. 73], this day decided. Judgment went for the defendant and the plaintiff appeals from such judgment and from an order denying a motion for a new trial. The questions presented are the same as those presented in Housel v.Pacific Electric Railway Co., ante, p. 245, [139 P. 73], and it was stipulated that the cause should be submitted upon the same record and briefs as those used in the Housel case and that whatever judgment was rendered in the latter case should also be determinative of the appeal herein.
The judgment and order appealed from are reversed. *Page 796 